                 Case: 3:20-cr-00010-jdp Document #: 4 Filed: 01/30/20 Page 1 of 1
                                 COURTROOM MINUTES
                              ARRAIGNMENT/PLEA HEARING

DATE:_____________
      1/30/2020       DAY:_______________
                            Thursday         START TIME:_____________
                                                          3:04 PM     END TIME:_______________
                                                                                 3:16 PM

JUDGE/MAG.:____________________
             P. Oppeneer            CLERK:____________________
                                            K. Frederickson    REPORTER:____________________
                                                                          FTR
                    A. Barczak
PROBATION OFFICER:_________________ INTERPRETER:__________________         SWORN: YES      NO
CASE NUMBER:_________________
              20-cr-10-jdp           CASE NAME: USA v. ________________________________________
                                                         David M. Kruchten

APPEARANCES:
ASST. U.S. ATTY.:_________________________
                  Elizabeth Altman               DEFENDANT ATTY.:_____________________________
                                                                   Joe Bugni

                 _________________________                           _____________________________
                                                 DEFENDANT PRESENT: YES              NO
OFFENSE INFORMATION:
                         1-7
MAXIMUM PENALTY: CT(S) _______________;   30
                                        _______________                        250,000
                                                        YR(S) IMPRISONMENT; $________________ FINE;
 Life
_________ YEAR(S) SUPERVISED RELEASE;   $_____________
                                          100           SPECIAL ASSESSMENT;            RESTITUTION.
DEFENDANT AGE:__________       INDICTMENT/INFORMATION READ           DEFENDANT WAIVES READING
PLEA:
        GUILTY                    DEFENDANT SWORN
        NOT GUILTY                PLEA ACCEPTED AS KNOWING AND VOLUNTARY
        NO CONTEST                DEFT. ADJUDGED GUILTY BY COURT
        MUTE
TRIAL SCHEDULE:
   JURY SEL./TRIAL: _________________________       TRIAL ESTIMATE:____________ DAYS
   PTMH/EVID. HRG.: _________________________       MOTIONS DUE:____________________
   FPTC:             _________________________      FPTC SUBMISSIONS:________________
   FINAL HEARING: _________________________
SENTENCING SCHEDULE:
   PRESENTENCE REPORT DUE:________________          OBJECTIONS DUE:_______________
   SENTENCING :_______________ at ____________
RELEASE/DETENTION:
        ORDER SETTING CONDITIONS OF RELEASE ENTERED/AFFIRMED.
        DEFENDANT DETAINED PENDING TRIAL/SENTENCING.
        DEFENDANT TEMPORARILY DETAINED; DETENTION HEARING:______________________________
                                                           2/5/2020 at 2:00 p.m.

NOTES:
Trial calendar to be set at the detention hearing
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
                                                                                       12 min.
                                                                    TOTAL COURT TIME:__________
